                                                                              Motion is GRANTED.



                              UNITED STATES DISTRICT COURT

                           FOR THE MIDDLE DISTRICT OF TENNESSEE

                                     NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )        No. 3:09-00099
                      v.                       )
                                               )
COREY QUIANTIAN RODGERS                        )

                               MOTION TO DISMISS PETITION

       Comes the United States of America and moves the Court to dismiss the Petition (DE 804),

alleging a violation of the conditions of supervised release. The undersigned attorney for the

United States has been informed by the probation officer that the charge against the defendant in

state court, which is the basis for the petition, has been dismissed.

       The United States therefore moves the Court to dismiss the Petition.




                                               Respectfully submitted,

                                               DAVID A. RIVERA
                                               UNITED STATES ATTORNEY

                                       BY:       s/Harold B. McDonough
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